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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO.



 KEVIN FISHER,

         Plaintiff,

 v.

 WELLS FARGO BANK, N.A.,

         Defendant.
                                                   /

                                             COMPLAINT

         Plaintiff, KEVIN FISHER (“Plaintiff”), by and through undersigned counsel, hereby sues

 Defendant, WELLS FARGO BANK, N.A. (“Defendant”), and alleges the following:

                  JURISDICTION, VENUE, PARTIES AND JURY DEMAND

      1. This is an action brought pursuant to the Fair Debt Collection Practices Act, 15 U.S.C. §

         1692 et seq. (“FDCPA”), which is within this Honorable Court’s original, federal question

         jurisdiction pursuant to 28 U.S.C. § 1331, and for state law claims within the Court’s

         supplemental jurisdiction pursuant to 28 U.S.C. § 1367.

      2. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b), because the Defendant

         regularly conducts business in Broward County, Florida, and because a substantial part of

         the events or omissions giving rise to Plaintiff’s claims occurred in this District.

      3. Plaintiff, at all times material to this lawsuit, is a resident of Leon County, Florida.




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    4. Defendant is a national banking institution which does substantial and not isolated business

       in Broward County, Florida and/or otherwise within the jurisdiction of the Southern

       District of Florida.

    5. Defendant is subject to personal jurisdiction in this District and in this Court pursuant to

       Florida Statutes §48.193, in that it conducts substantial and not isolated business within the

       Southern District of Florida and otherwise has sufficient contacts within Florida and this

       District upon which to support personal jurisdiction, and because subjecting it to personal

       jurisdiction in this District does not otherwise offend traditional notions of fair play and

       substantial justice.

    6. JURY DEMAND: Plaintiff demands that all issues in this case be tried by a jury in

       accordance with the Seventh Amendment to the United States Constitution and Rule 38(b)

       of the Federal Rules of Civil Procedure.

                                 GENERAL ALLEGATIONS

    7. Plaintiff incurred a debt or obligation to pay money arising out of a transaction in which

       money, property, insurance or services, which are the subject of the transaction are

       primarily for personal, family, or household purposes, whether or not such obligation has

       been reduced to judgment. Specifically, Plaintiff incurred the debt in the purchase of real

       property located in Broward County, Florida, bearing the street address of 6236 SW 27th

       Street, Miramar, FL 33023 (the “Property”).

    8. On September 30, 2016, Defendant filed a foreclosure lawsuit in the matter styled: Wells

       Fargo Bank, N.A. v. Kevin Fisher et al., In The Circuit Court of the Seventeenth Judicial

       Circuit, In and For Broward County, Florida, Case Number: 16-18078 (“Foreclosure

       Action”).



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    9. On or about November 10, 2016, Attorney Holiday H. Russell filed a Notice of Appearance

       on behalf of the Plaintiff in the Foreclosure Action. Attorney Russell remains counsel of

       record in said case.

    10. On February 6, 2017, undersigned counsel filed a Notice of Appearance of Co-Counsel in

       the Foreclosure Action on behalf of Plaintiff and remains counsel of record.

    11. At all times material hereto, Defendant had actual and/or constructive knowledge that

       Plaintiff was represented by legal counsel with respect to the debt relevant herein.

    12. Since November 10, 2016, Defendant has sent numerous monthly communications

       attempting to collect on a debt to Plaintiff directly at his residential address in violation of

       FDCPA and Florida Consumer Collection Practices Act (“FCCPA”) knowingly and/or

       where Defendant could have discovered the name and address of Plaintiff’s counsel as

       defined by statute, that Plaintiff was represented by legal counsel with respect to such debt.

    13. Plaintiff has been the subject of collection activity. The specific activity consisted of

       communications and statements sent to Plaintiff by Defendant at his home address listed

       hereinabove.

    14. Additionally, Defendant sent communications to Plaintiff misrepresenting the amounts

       relating to, inter alia, attorney’s fees, costs and advances which are incorrect.         More

       specifically, upon information and belief, the mortgage statements sent to Plaintiff

       contained false and misleading information as to the amount of legal fees, costs and

       advances paid by Defendant to its legal counsel in the Foreclosure Action in violation of

       15 U.S.C. 1692(e)(2)(A).

    15. Defendant’s principal business is the lending of funds, servicing of loans and the collection

       of debt, or who regularly collects or attempts to collect, directly or indirectly, debts owed



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       or due or asserted to be owed or due. Defendant is a “debt collector” as defined by Fair

       Debt Collection Practices Act, 15 U.S.C. § 1692-1692p., and Florida Statute §559.55(7).

       Upon information and believe, Defendant is the servicer of Plaintiff’s mortgage loan.



                                  COUNT I
          VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                            15 U.S.C. § 1692-1692p

    16. Plaintiff realleges and incorporates by reference paragraphs 1 through 15 as if fully set

       forth herein.

    17. This is an action against Defendant for violation of the Fair Debt Collection Practices Act,

       15 U.S.C. § 1692-1692p. (“FDCPA”).

    18. Defendant, upon information and belief, is a debt collector within the meaning of the

       FDCPA, because it was the servicer of the note and mortgage on the Property.

    19. Defendant is in violation of 15 U.S.C. § 1692(c)(a)(2) for directly communicating with

       Plaintiff via written correspondence in connection with the collection of a consumer debt

       evidenced by the note and mortgage on the Property, and it did so knowing that Plaintiff

       was at the time of each correspondence represented by an attorney with respect to such

       debt, and it had knowledge of or could readily ascertain such attorney’s name and address

       from the pleadings and correspondence and other documents in the Foreclosure Action.

    20. The actions of Defendant as alleged herein and to be proven at trial, constitute a violation

       of the Fair Debt Collection Practices Act sufficient to warrant liability under 15 U.S.C. §

       1692(k).

    21. The actions of the Defendant as alleged herein were accomplished with such intentional

       misconduct and/or gross negligence as to warrant an award of punitive damages against it



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        to the maximum extent permitted by law based on the level of intent and knowledge of the

        Defendant.

    WHEREFORE, Plaintiff demands entry of judgment against Defendant, for actual damages,

 statutory damages, punitive damages, court costs, attorneys’ fees pursuant to 15 U.S.C.

 §1692k(a)(3), pre- and post-judgment interest, and for such other and further relief as the Court

 deems just and proper.

                                   COUNT II
           VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                            15 U.S.C. § 1692(e)(2)(A)

    22. Plaintiff realleges and incorporates by reference paragraphs 1 through 15 as if fully set

        forth herein.

    23. This is an action against Defendant for violation of the Fair Debt Collection Practices Act,

        15 U.S.C. § 1692-1692p. (“FDCPA”).

    24. Defendant, upon information and belief, is a debt collector within the meaning of the

        FDCPA, because it was the servicer of the note and mortgage on the Property.

    25. Defendant sent communications to Plaintiff misrepresenting the amounts relating to, inter

        alia, attorney’s fees, costs and unpaid advances. More specifically, upon information and

        belief, the mortgage statements sent to Plaintiff contained false and misleading information

        as to the amount of legal fees paid by Defendant to its legal counsel in the Foreclosure

        Action in violation of 15 U.S.C. § 1692(e)(2)(A).

    26. The actions of Defendant as alleged herein and to be proven at trial, constitute a violation

        of the Fair Debt Collection Practices Act sufficient to warrant liability under 15 U.S.C. §

        1692(k).




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    27. The actions of the Defendant as alleged herein were accomplished with such intentional

        misconduct and/or gross negligence as to warrant an award of punitive damages against it

        to the maximum extent permitted by law based on the level of intent and knowledge of the

        Defendant.

    WHEREFORE, Plaintiff demands entry of judgment against Defendant, for actual damages,

 statutory damages, punitive damages, court costs, attorneys’ fees pursuant to 15 U.S.C.

 §1692k(a)(3), pre- and post-judgment interest, and for such other and further relief as the Court

 deems just and proper.

                                 COUNT III
             VIOLATION OF THE FLORIDA CONSUMER PRACTICES ACT
                         FLORIDA STATUTE §559.72 (9)

    28. Plaintiff realleges and incorporates by reference paragraphs 1 through 15 as if fully set

        forth herein.

    29. This is an action against Defendant for violation of the Florida Consumer Collection

        Practices Act, Florida Statutes § 559.55, et seq. (“FCCPA”).

    30. Defendant and its agents’ acts and omissions as described constitute numerous and multiple

        violations of the FCCPA. Specifically, the Defendant has sent communications, i.e.

        mortgage statements and correspondences related to the debt directly to Plaintiff in which

        the Defendant is attempting to enforce a debt and where the debt is not correctly stated in

        such communications. Specifically, the amounts on the mortgage statements relating to

        attorney’s fees, costs and advances are incorrect.

    31. The actions of the Defendant as alleged herein were accomplished with such intentional

        misconduct and/or gross negligence as to warrant an award of punitive damages to the




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        maximum extent permitted by law based on the level of intent and knowledge of the

        Defendant.

    WHEREFORE, Plaintiff demands entry of judgment against the Defendant, for actual

 damages, statutory damages, punitive damages, court costs, attorneys’ fees pursuant to Florida

 Statutes § 559.77, pre- and post-judgment interest, and for such other and further relief as the Court

 deems just and proper.

                                 COUNT IV
             VIOLATION OF THE FLORIDA CONSUMER PRACTICES ACT
                        FLORIDA STATUTE §559.72 (18)

    32. Plaintiff realleges and incorporates by reference paragraphs 1 through 15 as if fully set

        forth herein.

    33. This is an action against Defendant for violation of the Florida Consumer Collection

        Practices Act, Florida Statutes § 559.55, et seq. (“FCCPA”).

    34. Defendant is in violation of Fla. Stat. §559.72(18) for directly communicating with Plaintiff

        via written correspondence in connection with the collection of a consumer debt evidenced

        by the note and mortgage on the Property, and it did so knowing that Plaintiff was at the

        time of each correspondence represented by an attorney with respect to such debt, and it

        had knowledge of or could readily ascertain such attorney’s name and address from the

        pleadings and correspondence and other documents in the Foreclosure Action.

    35. The actions of the Defendant as alleged herein were accomplished with such intentional

        misconduct and/or gross negligence as to warrant an award of punitive damages to the

        maximum extent permitted by law based on the level of intent and knowledge of the

        Defendant.

    WHEREFORE, Plaintiff demands entry of judgment against the Defendant, for actual



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 damages, statutory damages, punitive damages, court costs, attorneys’ fees pursuant to Florida

 Statutes § 559.77, pre- and post-judgment interest, and for such other and further relief as the Court

 deems just and proper.




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 Dated June 5, 2018

                                    Respectfully submitted,

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